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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                             CASE NO.: 6:20-CV-01210-GAP-GJK

DAVID NDALAMBA, an individual resident
of Canada, and STARLINE MEDIA, INC., a
Canadian corporation,
Plaintiffs,
v.
ELISHA TRICE, an individual resident of Florida,
JOMY STERLING, an individual resident of Florida,
and STAR STATUS GROUP, a company of
unknown residency,
Defendants.
 _________________________________________________/

          PLAINTIFFS’ RESPONSE TO MOTION FOR PROTECTIVE ORDER

                      DECLARATION OF LOUIS R. GIGLIOTTI, ESQ.

        Pursuant to 28 U.S.C. §1746, under penalty of perjury, the undersigned, Louis R.
Gigliotti, Esq., as attorney of record for Plaintiffs, swears that the following statements are true
and correct:

   I. INTRODUCTION.

       Defendants have file a Motion for Protective Order for a subpoena Plaintiffs sent to

Roblox Corporation, a gaming platform located in California. The parties to this case use

Roblox as the platform for producing video games. Plaintiffs’ game is “ROYALE HIGH” and

Defendants’ game is “CROWN ACADEMY.” These games run through Roblox, all revenues

are created through Roblox, Roblox maintains the games, has copies of all the variations and

iterations of the computer code used in the games, collects monies from players, and distributes

revenues to the games’ owners. Roblox has almost every relevant document needed in this case.

       Plaintiffs allege that Defendants hired at least one of its former programmers and used

specific files that were stolen by the programmer, Eli Trice to develop a competing game.


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Plaintiffs have attached a series of exhibits of the theft to the Complaint and are of record.

Defendants’ game attempts to mirror Plaintiffs game by using substantially similar motifs,

characters, and functions, and did so by stealing Plaintiff’s code through Mr. Trice. Mr. Trice

has defaulted, and has apparently run for the hills. There is no dispute that Mr. Trice worked for

Defendants during the developmental period of the infringing CROWN ACADEMY game.

       Since Roblox Corporation is the singular best source for most all of the relevant

information needed to establish the claims, on March 16, 2021, Plaintiffs issued a subpoena for

Roblox, and served Notice of Subpoena on Defendants counsel. (Exhibit A). The undersigned

contacted a process server in California to serve Roblox. Due to COVID, California relaxed

service requirements, and efforts to serve Roblox were unsuccessful as the Registered Agent was

not present during this time period. As a result, the process server provided an Affidavit of Non-

Service, and the subpoena was never served. (Exhibit B).

       Plaintiffs, through David Ndalamba, then contacted a source at Roblox, and notified them

that the undersigned was trying to serve Roblox with a subpoena, and that Roblox’ Registered

Agent was not making himself available for service. Roblox’ attorney then contacted the

undersigned and expressed a willingness to accept service of the subpoena. (Exhibit C).

       Defendants’ counsel objected to the scope of the subpoena. In an effort to accommodate

Defendants’ concerns regarding the Roblox subpoena, the undersigned then sent an email to

opposing counsel agreeing to send a copy of the produced documents to him, and to permit

opposing counsel to express any concerns before permitting any other person or party to review

them. (Exhibit B). That accommodation was an attempt to avoid unnecessary motion practice.

       Now, 3 months later, Roblox, despite expressing a willingness to produce the documents


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have not produced a single document as we are awaiting court resolution. Importantly, it should

be noted that Defendants have produced very little information, and very few documents, and the

documents sought through Roblox are important to telling the entire story, as Defendants have

not produced very many relevant documents despite efforts to obtain them. Plaintiffs’ Motion to

Compel is shelved for a later day, and will likely not be necessary if the Roblox documents are

produced.

       Lastly, and most importantly, the parties have executed a Confidentiality Agreement

(“CA”), and Defendants have attached a copy as Exhibit 2 to its Motion. (DE52-2) Thus, any

concerns Defendants may have are covered by the agreed terms of the Confidentiality

Agreement, and coupled with the undersigned’s pledge to hold the Roblox documents until

Defendants can make appropriate designation under the CA.

       Defendants’ Motion, at paragraph 5, seeks the very relief that the undersigned has already

agreed to, namely, the opportunity to designate the documents pursuant to the CA. (DE52, ¶4-5)

   II. DEFENDANTS HAVE NOT DEMONSTRATED GOOD CAUSE.

       The Motion fails to address any specific objections to the categories of documents in the

subpoena. The only mention of any objected to category is for “any and all documents referring

or relating to any Roblox account name….PixelatedCandy.” (DE 52, Motion, ¶4.) The Motion

makes no effort to demonstrate good cause as to why this information should be protected from

disclosure. The Motion does not even argue that the information sought is from Defendants, or

that the PixelatedCandy ID belongs to any of them. There is no proffer of any kind as to any

specific objections, and the only noted objections fails to address any legitimate reason why the

information should be protected.


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       Defendants’ Motion (DE52) is merely an effort to obstruct and slow the dissemination of

relevant information. The Motion fails to even make a proffer as to why any category of

information in the subpoena should not be produced, and does not reference any specific

categories for objection.

   III. CONCLUSION.

       The undersigned has already offered Defendants the protection it asks for in its Motion.

The Motion is wholly unnecessary and a waste of judicial resources and attorneys time. It does

not even offer the Court any specific objections to any specific numbered category in the

subpoena. Secondly, there is a Confidentiality Agreement in place that permits designation of

any materials. The undersigned offered to wait for the designation prior to using, or showing the

documents. That is the actual relief Defendants seek in the Motion, and it was already offered

weeks ago.

       For the afore-stated reason, the Motion for Protective Order should be denied, the Roblox

should produce the documents sought, and as promised, Defendants will have the opportunity to

make designations before the information received from Roblox is used or disseminated.

Dated: June 4, 2021                                         Louis R. Gigliotti, PA

                                                       By:/Louis R. Gigliotti, Esq./
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                                CERTIFICATE OF SERVICE

       I HEREBYCERTIFY that a true and correct copy of the foregoing was filed via ECF,

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this 4th of June 2021.

                                              By:   /Louis R. Gigliotti/
                                                    Louis R. Gigliotti, Esq.




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